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                                 Exhibit 1



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Ridout, C. Benny                                              December 5, 2008
                                      Raleigh, NC

                                                                                Page 1
                 UNITED STATES DISTRICT COURT

                   DISTRICT OF MASSACHUSETTS

    --------------------------------X

    In re:   PHARMACEUTICAL INDUSTRY )     MDL No. 1456

    AVERAGE WHOLESALE PRICE            )   Master File No.

    LITIGATION                         )   01-CV-12257-PBS

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    THIS DOCUMENT RELATES TO:          )   Judge Patti B.

    United States of America ex        )   Saris

    rel. Ven-A-Care of the Florida     )

    Keys, Inc., et al.    v.   Dey,    )

    Inc., et al., Civil Action No.     )

    05-11084-PBS                       )

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               Video Deposition of C. BENNY RIDOUT,

    taken by the Defendants, at the Hilton North

    Raleigh, 3415 Wake Forest Road, Boardroom, Raleigh,

    North Carolina, on the 5th day of December, 2008 at

    9:10 a.m., before Marisa Munoz-Vourakis, Registered

    Merit Reporter, Certified Realtime Reporter and

    Notary Public.




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                               Raleigh, NC

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  1
                            A P P E A R A N C E S
  2

  3
      For the Plaintiffs:
  4

  5
                    JAMIE ANN YAVELBERG, ESQ.
  6
                    United States Department of Justice
  7
                    P.O. Box 261
  8
                    Ben Franklin Station
  9
                    Washington, DC 20044
10
                    202-514-6514
11
                    jamie.yavelberg@usdoj.gov
12

13
                                           -and-
14

15
                    TRACY J. HAYES, ESQ.
16
                    State of North Carolina, Dept. of Justice
17
                    114 W. Edenton Street
18
                    P.O. Box 629
19
                    Raleigh, NC 27602-0629
20
                    919-716-6840
21
                    tjhayes@ncdoj.gov
22




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                                                                             Page 57
  1
      one that wasn't, I mean, I got some in mind, but
  2
      I'm not sure, because we are talking about a
  3
      while ago.
  4
                      But any time you could have a problem,
  5
      a manufacture can have a manufacturing problem,
  6
      you have to pull that product off the market.
  7
      FDA may suspend it, and when that happened, it
  8
      depends on how long it would take to get it back
  9
      on the market, and if there wasn't competition,
10
      you know, the pries would be different.
11
               Q.     And in your experience, would the AWP
12
      remain the same and then the far right column,
13
      the actual selling price would go up and down?
14
                      MS. YAVELBERG:          Objection, form.
15
               A.     I'm going to have to say that I did not
16
      keep up with AWPs on a drug.                  I did say -- like I
17
      said, you just don't have time to do that.
18
                      It is my understanding that the AWP
19
      would change based on the competition and the
20
      people in the marketplace.                 But as for me to say,
21
      you know, now that's gone, I'm going to track
22
      everybody's AWP, I didn't have time to do that.

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  1
                      And I was hiring a company out of
  2
      California to keep up with those prices for me as
  3
      well as all the other Medicaid programs, to put
  4
      in my system, which the federal government
  5
      approved, that's the pricing system that we will
  6
      endorse, and we approved this.                   So, therefore, it
  7
      was --
  8
               Q.     Was that First Data Bank that you used?
  9
               A.     Yeah, and we thought First Data Bank
10
      was doing a survey with the wholesalers across
11
      the country, and that they would put that survey,
12
      average price, average wholesale price came up,
13
      that they were doing a survey of some of the
14
      different drug manufacturers, what they sold that
15
      drug for, and then they came up with an average
16
      for it, and they called it an average wholesale
17
      price.        That was the interpretation we had for
18
      quite some while.
19
               Q.     When did you have that interpretation?
20
               A.     When I was a pharmacist.               Also when I
21
      went to work for the state.                 Never knew that was
22
      a spread.        I thought that the AWP prices were

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                                                                             Page 74
  1
      what was going on?            But that was something that
  2
      they would never volunteer to tell me what they
  3
      were paying.         They would say to me, some of the
  4
      independents would say we can't buy drugs for
  5
      what the chains can.             And one independent is
  6
      large, depending on volume, can buy it at a
  7
      better price than I can.
  8
                      So it wasn't just that one price fits
  9
      all, it was based on volume and size of the
10
      provider, whether it was a chain, and if it was a
11
      chain, was it a North Carolina chain, or was it a
12
      national chain, like Walgreens and Eckerds and
13
      those, they were supposed to get better prices
14
      than Kerr, the local chain.
15
                      So it's just all kinds of pricing modes
16
      and mechanism in place.               There was no one set
17
      price, and that's one reason why when I tried to
18
      adjust my AWP, how do you adjust the AWP to cover
19
      everybody, not knowing what it is?
20
               Q.     The price list that you had received
21
      from wholesalers, did those ever relate to
22
      infusion or home IV drugs?

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                                                                             Page 75
  1
               A.     Most of the time it did not.                  But most
  2
      of the time the manufacturers would come in and
  3
      want us to make sure we had that price in the
  4
      system, because they were working with that
  5
      specialty pharmacist to get that drug out.
  6
                      You know, I can remember sometimes the
  7
      company itself would contract with a K-Mart or
  8
      specialty pharmacist to promote that drug and
  9
      they would make that drug available to that
10
      specialty pharmacist and that specialty
11
      pharmacist would get all the physicians and try
12
      to recruit that business with the help of the
13
      manufacturer.
14
               Q.     And when you are referring to that sort
15
      of detailing with respect to a particular drug,
16
      you are referring to a brand drug?
17
                      MS. YAVELBERG:          Objection, form.
18
               A.     I would have to say most of the time
19
      it's probably a brand.               There could be some
20
      generic, in fact, some of them went generic, some
21
      of those specialty drugs I've seen that went
22
      generic over a period of time.                   So originally it

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